          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr233-2


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                    ORDER
                            )
                            )
MIGUEL LORIA.               )
                          )



      THIS MATTER is before the Court on the Defendant’s “Motion for a

Nunc Pro Tunc Recommended Order to Correct a Clerical Error in the Record

Pursuant to Federal Criminal Rule 36" [Doc. 110].



                          PROCEDURAL HISTORY

      The Defendant was indicted on November 19, 2008 and charged, along

with his two co-defendants, with operating a tax refund conspiracy, in violation

of 18 U.S.C. §§286 & 371. [Doc. 3]. He was also charged with aggravated

identify theft, conspiracy to money launder, and money laundering, in violation

of 18 U.S.C. §§1028A(a)(1), 1956(h) & 1957(a). [Id.]. On March 17, 2009, he

entered into a plea agreement with the Government pursuant to which he pled




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guilty to two counts of conspiracy to make false claims and to defraud the

United States and one count of aggravated identity theft. [Doc. 45].            On

October 23, 2009, the Defendant was sentenced to 63 months imprisonment.

[Doc. 99].    The sentencing court recommended that he be “allowed to

participate in any available substance abuse treatment programs while

incarcerated and if eligible receive benefit of 18 U.S.C. §3621(e)(2)” which

provides for a reduction in sentence upon the successful completion of such

a program. [Doc. 99, at 2] (emphasis provided). The Defendant did not

appeal his conviction or sentence.



                                  DISCUSSION

      The Defendant now moves for the Court to amend his Judgment of

Conviction in a Criminal Case to include a recommendation that he be housed

at a particular facility in order to increase his chances of participating in a drug

treatment program. He claims that Federal Rule of Criminal Procedure 36

provides authority to do so.

      That Rule provides that a court may correct a clerical error or other error

in a judgment arising from oversight or omission. Fed.R.Crim.P. 36. The

judgment in the Defendant’s case, however, contains no such error. United

States v. Brown, 343 Fed.Appx. 934, 935-36 (4 th Cir. 2009) (Rule 36 does not




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allow a court to revisit a sentence when the correction is to remedy an error

of law not one of transcription). The language in the Defendant’s judgment

clearly states that it is recommended he be allowed to participate in “any

available” drug treatment programs. This Court has no authority to order the

Bureau of Prisons (BOP) to have such programs available. Mares v. Federal

Bureau of Prisons, 401 F.Supp.2d 775, 778 (S.D.Tex. 2005) (“‘Congress

intended to authorize the BOP to operate a boot camp program but did not

intend to require operation of such a program.’”). “Congress and the Attorney

General have delegated authority to the BOP to administer the federal prison

system.” Palomino v. Federal Bureau of Prisons, 408 F.Supp.2d 282, 288

(S.D.Tex. 2005). “Under 18 U.S.C. §3621(b), the BOP has the authority to

decide the place of a prisoner’s imprisonment.” Id., citing United States v.

Wilson, 503 U.S. 329, 112 S.Ct. 1351, 117 L.Ed.2d 593 (1992) (only the

Attorney General through the BOP has the authority to administer a prison

sentence). Thus, “a district court has no power to dictate or impose any place

of confinement for the imprisonment portion of the sentence. Rather, the

power to determine the location of imprisonment rests with the Bureau of

Prisons.” United States v. Serafini, 233 F.3d 758, 778 n.23 (3 rd Cir. 2000).

Indeed, “[a] prisoner does not have a constitutional due process right to

incarceration in a particular place or at a particular institution.” Palomino, 408




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F.Supp.2d at 292-93.



                                ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for a Nunc

Pro Tunc Recommended Order to Correct a Clerical Error in the Record

Pursuant to Federal Criminal Rule 36 [Doc. 110] is hereby DENIED.

                                   Signed: April 29, 2010




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